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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-cr-00169MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     ERIC ROBINSON,                     )
15
                                        ) Date: 10-1-2015
16                    Defendant.        ) Time: 9:00 a.m.
     ________________________________) Judge: Hon. Morrison C. England
17

18                  Plaintiff United States of America, by and through its counsel of record,

19   and defendant Eric Robinson, by and through his counsel of record, hereby stipulate as
20
     follows:
21
           1.       By previous order, this matter was set for status September 17, 2015.
22

23         2.       By this stipulation, defendant now moves to continue the status
24
     conference until October 1, 2015, and to exclude time between September 17, 2015 and
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     October 1, 2015, under Local Code T4. Plaintiff does not oppose this request.
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27         3.       The parties agree and stipulate, and request that the Court find the
28   following:


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 1          a.       The government has represented that the discovery associated with this
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     case includes approximately 1, 952 pages of investigative reports and related documents
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     in electronic form and many hours of recorded telephone calls. All of this discovery has
 4

 5   been either produced directly to counsel and / or made available for inspection and
 6
     copying.
 7
            b.       Counsel for defendant desires additional time to complete the review of
 8

 9   discovery, to conduct defense investigation, and to discuss potential resolution with her
10
     client. Counsel has also been continuing to engage in negotiations with the government.
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     In particular, Mr. Robinson has a current pending matter in Solano County that the
12

13   government and counsel are attempting to negotiate a global resolution. Negotiations

14   with the county prosecutor and the government are ongoing. The parties involved have
15
     been working diligently to reach a resolution and are very close.
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            c.       Counsel for defendant believes that failure to grant the above-requested
17

18   continuance would deny her the reasonable time necessary for effective preparation,
19
     taking into account the exercise of due diligence.
20
            d.       The government does not object to the continuance.
21

22          e.       Based on the above-stated findings, the ends of justice served by

23   continuing the case as requested outweigh the interest of the public and the defendant in
24
     a trial within the original date prescribed by the Speedy Trial Act.
25

26
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

27   § 3161, et seq., within which trial must commence, the time period of September 17,
28
     2015 to October 1, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§


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 1   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
 2
     the Court at defendant’s request on the basis of the Court's finding that the ends of
 3
     justice served by taking such action outweigh the best interest of the public and the
 4

 5   defendant in a speedy trial.
 6
            4.     Nothing in this stipulation and order shall preclude a finding that other
 7
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 8

 9   from the period within which a trial must commence.

10   IT IS SO STIPULATED.
11
     Dated: September 15, 2015                       Respectfully submitted,
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13
                                                     /s/ Kelly Babineau
                                                     KELLY BABINEAU
14                                                   Attorney for Eric Robinson
15

16   Dated: September 15, 2015                       /s/ Jason Hitt
                                                     Kelly Babineau for:
17
                                                     JASON HITT
18                                                   Assistant U.S. Attorney
19

20                                         ORDER
21          IT IS SO ORDERED.
22   Dated: September 18, 2015
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